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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                   FAYETTEILLLE DIVISION


   UNITED STATES OF AMERICA                                          PLAINTIFF/RESPONDENT

                     v.                  Civil No. 05-5160
                                      Crim. No. 04-50015-002

   JOSE MANCILLA-OREGON                                                 DEFENDANT/MOVANT



                       MAGISTRATE'S REPORT AND RECOMMENDATION
          Jose Mancilla-Oregon filed a motion under 28 U.S.C. § 2255 on September 15, 2005 (Doc.
   #116). Service was ordered and a response filed on October 19, 2005 (Doc. #118). A hearing is

   scheduled for July 25, 2006 at 1:00 p.m., in Ft. Smith, Arkansas. On May 25, 2006, appointed

   counsel for movant filed a motion (Doc. #161) requesting dismissal of this action at movant’s

   request. We have telephonically verified that respondent has no objection to dismissal.

          We recommend movant's request to dismiss be granted. The parties have ten days from

   receipt of our report and recommendation in which to file written objections pursuant to 28

   U.S.C. § 636(b)(1), unless an extension of time for good cause is obtained. Failure to file

   timely objections may result in waiver of the right to appeal questions of fact. The parties

   are reminded that objections must be timely and specific to trigger de novo review by the

   district court.

          DATED this 26th day of May 2006.



                                                    /s/Beverly Stites Jones
                                                    HON. BEVERLY STITES JONES
                                                    UNITED STATES MAGISTRATE JUDGE
